    Case 1:25-cv-01270-ACR       Document 34-1       Filed 05/23/25   Page 1 of 18




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


ROBERT F. KENNEDY HUMAN
RIGHTS; SOUTHERN BORDER
COMMUNITIES COALITION;
URBAN JUSTICE CENTER,

          Plaintiffs,

               v.                      Civil Action No. 25-1270-ACR

U.S. DEPARTMENT OF HOMELAND
SECURITY; KRISTI NOEM, in her
official capacity as Secretary of
Homeland Security,

          Defendants.


                     MEMORANDUM IN SUPPORT OF
       PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER


Michael C. Martinez (DC Bar No. 1686872)      Karla Gilbride (DC Bar No. 1005586)
Christine L. Coogle (DC Bar No. 1738913)      Adina H. Rosenbaum (DC Bar No. 490928)
Brian D. Netter (DC Bar No. 979362)           Public Citizen Litigation Group
Skye L. Perryman (DC Bar No. 984573)          1600 20th Street NW
Democracy Forward Foundation                  Washington, DC 20009
P.O. Box 34553                                (202) 588-1000
Washington, DC 20043                          kgilbride@citizen.org
(202) 448-9090

                               Counsel for All Plaintiffs

Anthony Enriquez (DDC Bar No. NY0626)         Sarah E. Decker (DDC Bar No. NY0566)
Sarah T. Gillman (DDC Bar No. NY0316)         Medha Raman (DC Bar No. 90027539)
Robert F. Kennedy Human Rights                Robert F. Kennedy Human Rights
88 Pine Street, Suite 801                     1300 19th Street NW, Suite 750
New York, NY 10005                            Washington, DC 20036
(917) 284-6355                                (202) 559-4432


                               Counsel for Plaintiff RFK

May 23, 2025
         Case 1:25-cv-01270-ACR                       Document 34-1                 Filed 05/23/25              Page 2 of 18




                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1
FACTUAL AND PROCEDURAL BACKGROUND.................................................................... 2
LEGAL STANDARD ..................................................................................................................... 5
ARGUMENT .................................................................................................................................. 5
   I.         Plaintiffs are likely to succeed on the merits. ..................................................................... 5
         A.      Plaintiffs are likely to establish standing. ....................................................................... 6
         B.      Plaintiffs are likely to succeed on their ultra vires claim. ............................................... 7
         C.      Plaintiffs are likely to succeed on their Administrative Procedure Act claims. ............. 9
   II.        Plaintiffs are suffering and will suffer irreparable harm absent a TRO. ........................... 11
   III. The balance of equities and public interest favor issuing a TRO. .................................... 13
CONCLUSION ............................................................................................................................. 14




                                                                      i
       Case 1:25-cv-01270-ACR                      Document 34-1              Filed 05/23/25             Page 3 of 18




                                             TABLE OF AUTHORITIES

Cases

Armstrong v. Exceptional Child Ctr., 575 U.S. 320 (2015).............................................................8

C.G.B. v. Wolf, 464 F. Supp. 3d 174 (D.D.C. 2020)......................................................................12

Ctr. for Biological Diversity v. EPA, 56 F.4th 55 (D.C. Cir. 2022) ................................................6

Ctr. for Biological Diversity v. Regan, 734 F. Supp. 3d 1 (D.D.C. 2024) .......................................6

Ctr. for Sustainable Econ. v. Jewell, 779 F.3d 588 (D.C. Cir. 2015) ..............................................7

Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290 (D.C. Cir. 2006) .........................4

Clinton v. City of New York, 524 U.S. 417 (1998)...........................................................................7

D.A.M. v. Barr, 474 F. Supp. 3d 45 (D.D.C. 2020) ........................................................................5

DHS v. Regents of the Univ. of Cal., 591 U.S. 1 (2020) ................................................................11

District 50, United Mine Workers of Am. v. Int’l Union, United Mine Workers of Am.,
        412 F.2d 165 (D.C. Cir. 1969) .............................................................................................2

FDA v. All. for Hippocratic Med., 602 U.S. 367 (2024) .................................................................5

Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477 (2010)........................................9

Hall v. Johnson, 599 F. Supp. 2d 1 (D.D.C. 2009) ..........................................................................4

Huisha-Huisha v. Mayorkas, 27 F.4th 718 (D.C. Cir. 2022)...........................................................2

J. Does 1-26 v. Musk, No. 25-1273, 2025 WL 1020995 (4th Cir. Mar. 28, 2025) ..........................7

League of Women Voters of the U.S. v. Newby, 838 F.3d 1 (D.C. Cir. 2016) .........................11, 12

Myers v. United States, 272 U.S. 52 (1926).....................................................................................7

Nat’l Env’t Dev. Ass’ns Clean Air Project v. EPA, 752 F.3d 999 (D.C. Cir. 2014)........................9

Nat’l Treasury Emps. Union v. Vought (NTEU),
       — F. Supp. 3d —, No. 1:25-cv-00381, 2025 WL 942772
       (D.D.C. Mar. 28, 2025), stay denied in relevant part, No. 25-5091
       (D.C. Cir. Apr. 11, 2025, as modified Apr. 28, 2025) .......................................................10

New York v. McMahon, 25-cv-10601 (D. Mass. May 22, 2025), ECF No. 45 ........................10, 12

Open Cmtys. All. v. Carson, 286 F. Supp. 3d 148 (D.D.C. 2017) .................................................12


                                                                 ii
        Case 1:25-cv-01270-ACR                          Document 34-1                  Filed 05/23/25               Page 4 of 18




People for the Ethical Treatment of Animals v. USDA, 797 F.3d 1087 (D.C. Cir. 2015) ...............5

Powder River Basin Res. Council v. U.S. Dep’t of Interior,
      749 F. Supp. 3d 151 (D.D.C. 2024) .....................................................................................7

Pursuing Am.’s Greatness v. FEC, 831 F.3d 500 (D.C. Cir. 2016).................................................5

Rhode Island v. Trump,
       — F. Supp. 3d —, No.1:25-cv-128, 2025 WL 1303868 (D.R.I. May 6, 2025).................10

Sackett v. EPA, 566 U.S. 120 (2012) ...............................................................................................9

Util. Air Regul. Grp. v. EPA, 573 U.S. 302 (2014)..........................................................................8

Wiley v. Kennedy, No. 2:25-CV-00227, 2025 WL 1384768 (S.D.W. Va. May 13, 2025) ............10

U.S. Constitution

U.S. Const. art. I, § 1........................................................................................................................7

Statutes

5 U.S.C. § 706 ................................................................................................................................11

6 U.S.C. § 111 ..................................................................................................................................8

6 U.S.C. § 205 ................................................................................................................................11

6 U.S.C. § 272 ................................................................................................................................10

6 U.S.C. § 345 ................................................................................................................................10

6 U.S.C. § 452 ............................................................................................................................8, 10

42 U.S.C. § 2000ee-1 .....................................................................................................................10

Other Authorities

Ximena Bustillo, Homeland Security Makes Cuts to Civil Rights and Oversight Offices,
      NPR (Mar. 21, 2025), https://perma.cc/B9HN-RWRC .................................................8, 12




                                                                       iii
     Case 1:25-cv-01270-ACR           Document 34-1        Filed 05/23/25     Page 5 of 18




                                       INTRODUCTION

       In the Homeland Security Act of 2002 and in subsequent legislation, Congress created three

Department of Homeland Security (DHS) Oversight Offices—the Office for Civil Rights and Civil

Liberties (CRCL), the Citizenship and Immigration Services Ombudsman’s Office (CISOM), and

the Office of the Immigration Detention Ombudsman (OIDO)—to protect individuals’ civil rights

and civil liberties, to oversee immigration detention conditions, and to assist vulnerable

immigrants navigating federal immigration processes. Congress gave each of those offices

numerous and extensive statutory duties to ensure that they fulfill their missions. But since the

reduction-in-force (RIF) and stop-work orders that Defendants issued on March 21, 2025,

essentially no work has been performed pursuant to the DHS Oversight Offices’ statutory

mandates. This deliberate failure to carry out congressional mandates, for more than two months

now, is ultra vires, contrary to law, and arbitrary and capricious. This unlawful government action

is contrary to the public interest and has caused irreparable harm to Plaintiffs Robert F. Kennedy

Human Rights (RFK), the Southern Border Communities Coalition (SBCC), and Urban Justice

Center (UJC).

       Starting later today, May 23, the DHS Oversight Offices’ failure to carry out their required

functions will become permanent: essentially all current employees of these three offices will be

separated from their employment, and there will remain at most three government officials across

those three offices. No matter how earnest and hardworking those individuals may be, it is highly

implausible that they would be able to carry out the statutory functions that Congress plainly

intended to be handled by fully staffed offices. The “plans” for these offices to be reconstituted

sometime in the future that the government now submits to the Court lack approval, necessary

detail, and any timeline whatsoever. The government offers vague, hypothetical future action, but

Plaintiffs—and the public—are suffering concrete harm today. This Court should therefore issue


                                                1
      Case 1:25-cv-01270-ACR          Document 34-1        Filed 05/23/25      Page 6 of 18




a temporary restraining order to preserve the status quo while Plaintiffs’ motion for a preliminary

injunction remains pending.

       Plaintiffs respectfully request an order reversing the March 21 stop-work order and

rescinding the March 21 RIF notices, which would return the parties to “the last uncontested status

which preceded the pending controversy.” Huisha-Huisha v. Mayorkas, 27 F.4th 718, 733 (D.C.

Cir. 2022) (quoting District 50, United Mine Workers of Am. v. Int’l Union, United Mine Workers

of Am., 412 F.2d 165, 168 (D.C. Cir. 1969)). At a minimum and in the alternative, Plaintiffs seek

an order preventing the March 21 RIFs from taking effect, so that the employees of the DHS

Oversight Offices will remain available to perform those offices’ statutory functions should that

prove necessary as Defendants’ plans for reconstituting the offices and resuming their functions

are being put into effect.

                      FACTUAL AND PROCEDURAL BACKGROUND

       Plaintiffs incorporate by reference the statutory and factual background sections of their

Memorandum in Support of Plaintiffs’ Motion for a Preliminary Injunction, ECF No. 15-1 (PI

Mem.). They supplement those facts with the following summary of factual and procedural

developments that have occurred since that motion was filed.

       Plaintiffs filed their Motion for a Preliminary Injunction on May 8, 2025, ECF No. 15, and

the parties agreed to a briefing schedule under which briefing was completed by May 16, ECF No.

17. Defendants filed their opposition on May 14, along with a declaration from Ronald Sartini,

who had recently been appointed CIS Ombudsman. Mr. Sartini confirmed that the RIFs approved

by Defendant Noem on March 20 included “the entire staff” of the three DHS Oversight Offices

except for members of the Senior Executive Service. Sartini Decl. ¶ 6, ECF No. 19-1. He also

referred to a “plan” by which the three offices would be reorganized in the future using contractors




                                                 2
      Case 1:25-cv-01270-ACR          Document 34-1        Filed 05/23/25     Page 7 of 18




and “software tools to more efficiently process complaints.” Id. ¶ 9. Citing this declaration,

Defendants took the position in their opposition that the offices had not been eliminated but were

in the process of being reorganized. Defs.’ Opp. at 28, ECF No. 19. Plaintiffs filed their reply on

May 16, noting that Defendants’ March 21 stop-work order was a final agency action whose legal

consequences had affected many, including Plaintiffs themselves. Reply Mem. at 12, ECF No.

24.

       On May 19, the Court held an evidentiary hearing at which Mr. Sartini testified. His

testimony confirmed that the numerous statutory functions of the DHS Oversight Offices, such as

the investigation of complaints, inspection of detention facilities, and review of DHS policies for

compliance with civil rights laws, were not currently being performed and had not been performed

since March 21. He also testified that since the issuance of the March 21 RIF notices (about which

he had no personal knowledge) and placement of all employees subject to the RIFs on

administrative leave, there were no employees working for CRCL or OIDO and only two

employees, Mr. Sartini and a deputy, working for CISOM. Finally, he testified that since around

March 21, he had been tasked with developing a plan for reorganizing the three offices and had

developed a “notional” plan for doing so with a combination of detailees, newly hired staff,

contractors, and software, but had not yet been given an opportunity to present the plan to anyone

in the Secretary’s office, and did not have authority to implement his own plan without approval

from DHS leadership.

       Following the May 19 hearing, it came to Plaintiffs’ counsel’s attention that the deputy

CISOM Ombudsman, whom Mr. Sartini testified had been helping him to perform CISOM work,

may have been reassigned to another component of DHS. Plaintiffs’ counsel mentioned this

development during oral argument before the Court on May 20, prompting the Court to issue a




                                                3
     Case 1:25-cv-01270-ACR           Document 34-1        Filed 05/23/25     Page 8 of 18




minute order that the parties notify the Court within 24 hours of any personnel changes at CISOM.

Pursuant to that minute order, Defendants notified the Court on May 21 that the deputy CIS

Ombudsman had been reassigned to USCIS as of Sunday, May 18, the day before Mr. Sartini’s

testimony. Defs.’ Notice, ECF No. 30; Sartini Decl. ¶ 4, ECF No. 30-1. With this reassignment,

there remained only one employee—Mr. Sartini—assigned to any of the three DHS Oversight

Offices.

       Also on May 21, employees of the three offices whose separation dates were scheduled for

May 23 received emails with information about their upcoming separation. One of the documents

attached to those emails was a list of Frequently Asked Questions, which included the following

response to a question about potential reassignment: “For the purposes of the RIF of CISOMB,

CRCL and OIDO, there are no reassignment opportunities as the entirety of the offices were

eliminated.” B. Doe Decl. ¶ 4 & Ex. 1, ECF No. 31-1.

       And on May 22, after the Court ordered Defendants to provide more information about Mr.

Sartini’s plans for the three offices, the most Defendants could offer is that a meeting regarding

the plans occurred and certain parts of those vaguely described plans were discussed. Absent was

any mention of high-level DHS approval for any parts of the plans, let alone timelines for their

implementation. See Hemenway Decl., ECF No. 33-1. Defendants’ latest declaration states that,

the same day, the Secretary had designated an individual to serve as the OIDO Ombudsman. Id.

¶ 13. It further states that the declarant, who is already currently the DHS Principal Deputy Chief

of Staff, has also been named Acting Officer for Civil Rights and Civil Liberties, as of an

unspecified date. Id. ¶ 1.




                                                4
     Case 1:25-cv-01270-ACR           Document 34-1        Filed 05/23/25      Page 9 of 18




                                      LEGAL STANDARD

       To obtain a temporary restraining order, “the moving party must show: (1) a substantial

likelihood of success on the merits; (2) that it would suffer irreparable injury if the [temporary

restraining order] were not granted; (3) that [such an order] would not substantially injure other

interested parties; and (4) that the public interest would be furthered” by the order. Chaplaincy of

Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006) (citations omitted); see also

Hall v. Johnson, 599 F. Supp. 2d 1, 3 n.2 (D.D.C. 2009) (“[T]he same standard applies to both

temporary restraining orders and to preliminary injunctions.” (citation omitted)). “When the

movant seeks to enjoin the government, the final two TRO factors—balancing the equities and the

public interest—merge.” D.A.M. v. Barr, 474 F. Supp. 3d 45, 67 (D.D.C. 2020) (citing Pursuing

Am.’s Greatness v. FEC, 831 F.3d 500, 511 (D.C. Cir. 2016)).

                                          ARGUMENT

I.     Plaintiffs are likely to succeed on the merits.

       Plaintiffs are likely to establish both organizational and associational standing to pursue

their claims. Moreover, they are likely to succeed on their first cause of action because Defendants

have failed for two months to perform statutory functions associated with the three DHS Oversight

Offices, without any authority for neglecting those functions. Finally, Plaintiffs are likely to

succeed on their Administrative Procedure Act (APA) claims because Defendants’ March 21 stop-

work order ceasing performance of CRCL’s, CISOM’s, and OIDO’s statutory functions was a

final agency action that exceeded Defendants’ statutory authority, was contrary to law, and was

arbitrary and capricious. The Court can issue interim relief to redress the ongoing harms being

caused by Defendants’ unlawful acts, regardless of whether Defendants later hire new staff to

perform the offices’ statutory functions through a (currently hypothetical) reorganization.




                                                 5
     Case 1:25-cv-01270-ACR            Document 34-1        Filed 05/23/25       Page 10 of 18




       A.      Plaintiffs are likely to establish standing.

       Plaintiffs incorporate the arguments made in their opening and reply memoranda on their

pending motion for a preliminary injunction regarding organizational and associational standing,

ECF Nos. 15-1 and 24. In short, Plaintiffs have introduced evidence through declarations

establishing that Defendants’ RIFs and stop-work order have perceptibly impaired their ability to

perform their core activities. FDA v. All. for Hippocratic Med., 602 U.S. 367, 395 (2024); People

for the Ethical Treatment of Animals v. USDA, 797 F.3d 1087, 1094 (D.C. Cir. 2015).

       Specifically, Plaintiff RFK Human Rights has spent time and money visiting detention

facilities to prepare for litigation in cases that it would have in the past handled through complaints

to CRCL and has diverted resources away from its criminal detention work because of the

additional immigration detention work that the cessation of CRCL and OIDO operations has

necessitated. Enriquez Decl. ¶ 15–16, ECF No. 15-3; Second Enriquez Decl. ¶ 6–7, ECF No. 25-

1. Plaintiff SBCC has forgone filing CRCL complaints about potential detention of migrants at

the Roosevelt Reservation, Serrano Decl. ¶ 13, ECF No. 15-5, and has instead focused its limited

resources on direct engagement with CBP despite CBP’s relative lack of responsiveness in the

past, id. ¶ 14. Finally, Plaintiff UJC is limited to using the case information channels provided by

CIS now that it can no longer rely on CISOM to assist when its clients’ petitions for immigration

relief have been pending with CIS for more than the standard processing time or when CIS has

made errors affecting those petitions, Ziegeweid Decl. ¶ 7, ECF No. 15-4, even though relying on

these inferior case assistance mechanisms will reduce the effectiveness of the services UJC can

provide its clients, id. ¶¶ 10–11. All of these harms are directly traceable to Defendants’ actions

of stopping all the DHS Oversight Offices’ work and would be redressed by an order from this

Court requiring that work to resume, or by an order preventing further dismantling of the offices




                                                  6
     Case 1:25-cv-01270-ACR            Document 34-1         Filed 05/23/25       Page 11 of 18




by temporarily retaining staff in their positions.

        Plaintiff SBCC can also establish associational standing on behalf of its members. A

membership organization may assert associational standing if “(1) at least one member of the

association has standing to sue in her own right (based on a showing of harm, causation, and

redressability), (2) the interests the association seeks to protect by suing on its members’ behalf

are germane to its purpose, and (3) neither the asserted claim nor the relief requested requires

individual members to participate in the litigation.” Ctr. for Biological Diversity v. Regan, 734 F.

Supp. 3d 1, 32 (D.D.C. 2024) (quoting Ctr. for Biological Diversity v. EPA, 56 F.4th 55, 66 (D.C.

Cir. 2022)). Here, the declarations of Pedro Rios (ECF No. 15-6), Margaret Cargioli (ECF No.

15-7), Sister Tracy Horan (ECF No. 15-12), and Laura St. John (ECF No. 15-13) establish that at

least four SBCC member organizations are suffering injuries in fact resulting from the suspension

of the DHS Oversight Offices’ statutory functions and would have standing to sue in their own

right. Moreover, this action is germane to SBCC’s mission of seeking to improve living conditions

and prevent loss of life on and around the southern border. Serrano Decl. ¶ 7. And because the

suit “turns entirely on whether [the agency] complied with its statutory obligations, and the relief

[SBCC] seeks is invalidation of agency action,” rather than damages for any individual SBCC

member, individual member participation is not necessary. Ctr. for Sustainable Econ. v. Jewell,

779 F.3d 588, 597 (D.C. Cir. 2015); see Powder River Basin Res. Council v. U.S. Dep’t of Interior,

749 F. Supp. 3d 151, 163 (D.D.C. 2024) (participation of individual members unnecessary where

organization sought only prospective relief and not damages).

        B.      Plaintiffs are likely to succeed on their ultra vires claim.

        Under our constitutional system, the power to make laws rests exclusively with Congress.

See U.S. Const. art. I, § 1. As part of that authority, the power to establish, reorganize, restructure,




                                                     7
     Case 1:25-cv-01270-ACR             Document 34-1     Filed 05/23/25      Page 12 of 18




and abolish agencies likewise rests squarely with Congress. See Myers v. United States, 272 U.S.

52, 129 (1926) (“To Congress under its legislative power is given the establishment of offices

[and] the determination of their functions . . . .”).

        Conversely, the Constitution contains no provision authorizing the executive “to enact, to

amend, or to repeal statutes.” Clinton v. City of New York, 524 U.S. 417, 438 (1998); see J. Does

1-26 v. Musk, No. 25-1273, 2025 WL 1020995, at *7 (4th Cir. Mar. 28, 2025) (Gregory, J.,

concurring) (“[T]he Executive branch may not eliminate a congressionally created and funded

agency without congressional authorization.”).

        Here, Defendants have flouted the careful balance of powers that the Framers designed by

acting unilaterally to eliminate the three DHS Oversight Offices and to end performance of their

statutorily required functions. This unilateral action also violates 6 U.S.C. § 452(b), which

prohibits the Secretary of Homeland Security from “aboli[shing] any agency, entity, organizational

unit, program, or function established or required to be maintained by” the Homeland Security Act

or by any other statute.

        Defendants’ public statements explaining why they took the actions challenged here

suggest that they disagree with the reasons Congress created these oversight offices, which they

consider unnecessary. 1 But the mission of DHS, as established by Congress, includes “ensur[ing]

that the civil rights and civil liberties of persons are not diminished by efforts, activities, and

programs aimed at securing the homeland.” 6 U.S.C. § 111(b)(1)(G). Moreover, Defendants’

disagreement with Congress’s judgment, as reflected in provisions establishing, funding, and



        1
          See Ximena Bustillo, Homeland Security Makes Cuts to Civil Rights and Oversight
Offices, NPR (Mar. 21, 2025), https://perma.cc/B9HN-RWRC (quoting DHS spokesperson stating
that the offices were abolished because they “obstructed immigration enforcement” and
“undermin[ed] DHS’s mission”).


                                                    8
     Case 1:25-cv-01270-ACR            Document 34-1         Filed 05/23/25      Page 13 of 18




assigning functions to the DHS Oversight Offices, does not permit Defendants to ignore or

override those congressional directives. Cf. Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 325 (2014)

(“An agency has no power to ‘tailor’ legislation to bureaucratic policy goals by rewriting

unambiguous statutory terms.”).

       Plaintiffs are thus likely to prevail on their claim that Defendants’ actions usurped

legislative authority conferred upon Congress by the Constitution. See Compl. ¶¶ 62–65, ECF No.

6; see also Armstrong v. Exceptional Child Ctr., 575 U.S. 320, 327 (2015) (“The ability to sue to

enjoin unconstitutional actions by state and federal officers is the creation of courts of equity, and

reflects a long history of judicial review of illegal executive action, tracing back to England.”);

Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 491 n.2 (2010) (recognizing a

right of action under the Constitution to seek injunctive relief for a separation of powers violation).

       C.      Plaintiffs are likely to succeed on their Administrative Procedure Act claims.

       As described at greater length in Plaintiffs’ preliminary injunction and reply memoranda,

and as incorporated by reference here, Plaintiffs are challenging a discrete, final agency action

taken by Defendants on March 21. That final agency action to abolish the DHS Oversight Offices

was reflected in the RIF notices sent to employees of those offices, which stated that the offices

and all positions in those offices were being “abolished” and were subject to “dissolution.”

Enriquez Decl. ¶ 17; A. Doe Decl., ECF No. 15-9, Ex. D; Vitullo Decl., ECF No. 15-11, Ex. E.

This action, also reflected in a stop-work order that remains in effect to this day, represented the

consummation of the agency’s decisionmaking, even if the agency later changes its mind and

announces an intent to rebuild the offices.           “The mere possibility that an agency might

reconsider … does not suffice to make an otherwise final agency action nonfinal.” Sackett v. EPA,

566 U.S. 120, 127 (2012); see also Nat’l Env’t Dev. Ass’ns Clean Air Project v. EPA, 752 F.3d




                                                  9
     Case 1:25-cv-01270-ACR           Document 34-1         Filed 05/23/25      Page 14 of 18




999, 1006–07 (D.C. Cir. 2014) (stating that agency action may be final even if it is subject to

change).

       But here, the agency has not changed course. As recently as May 21, Defendants sent

notices to employees of the three DHS Oversight Offices reiterating that their offices were being

“eliminated” in their “entirety.” B. Doe Decl., ECF No. 31-1, Ex. 1. Defendants have submitted

nothing to the Court that changes the finality of the agency action challenged here: the stop-work

order issued more than two months ago and the RIFs going into effect in mere hours. The

government’s aspirational plans for reorganization—plans with no clear approval, details, or

timeline, as to any of the three offices, see Hemenway Decl. ¶¶ 3, 4, 13 (noting for all three offices

that “staffing will take time”)—do nothing to change the fact that the agency actions Plaintiffs

challenge are both final and unlawful. See, e.g., New York v. McMahon, 25-cv-10601 (D. Mass.

May 22, 2025), ECF No. 45 (preliminarily enjoining RIFS of large percentage of Department of

Education employees, which would cause “the effective incapacitation of the Department to carry

out congressionally mandated functions through the guise of what Defendants argue is a

‘reorganization’”). Where an agency professes an intent to reorganize but the actions it has taken

to date point to the agency having been dissolved, or to its statutory functions being halted, courts

have afforded preliminary injunctive relief to ensure that those functions are performed pending

further clarity on the reorganization. See, e.g., Nat’l Treasury Emps. Union v. Vought (NTEU), —

F. Supp. 3d —, No. 1:25-cv-00381, 2025 WL 942772, at *46 (D.D.C. Mar. 28, 2025), stay denied

in relevant part, No. 25-5091 (D.C. Cir. Apr. 11, 2025; as modified Apr. 28, 2025); Rhode Island

v. Trump, — F. Supp. 3d —, No.1:25-cv-128, 2025 WL 1303868, at *11-12 (D.R.I. May 6, 2025);

Wiley v. Kennedy, No. 2:25-cv-227, 2025 WL 1384768, at *13 (S.D.W. Va. May 13, 2025)

(granting preliminary injunction to rescind RIF notices to employees of the Respiratory Health




                                                 10
      Case 1:25-cv-01270-ACR          Document 34-1        Filed 05/23/25     Page 15 of 18




Division of the National Institute for Occupational Safety and Health performing black lung tests

for coal miners, and ordering that “in the event of reorganization, the Court ORDERS that there

be no pause, stoppage or gap in the protections and services mandated by Congress in the Mine

Act and the attendant regulations for the health and safety of miners”).

       The actions Defendants took on March 21 were unlawful and should be set aside. The

actions exceeded Defendants’ statutory authority under the Homeland Security Act, which allows

only reallocation of functions that are not “established” or “required to be maintained” by statute.

6 U.S.C. § 452(b)(2). Here, all three offices perform functions that were established and required

by statute—specifically, by 6 U.S.C. § 345 and 42 U.S.C. § 2000ee-1 (CRCL), 6 U.S.C. § 272

(CISOM), and 6 U.S.C. § 205 (OIDO). Thus, Defendants’ actions of ordering the cessation of all

work of those offices and ordering the termination of essentially all employees both exceed their

statutory authority and are contrary to law. 5 U.S.C. § 706(2)(a), (c). Finally, those actions were

arbitrary and capricious, as Defendants have offered no reasons for why all work was stopped and

all employees subject to RIF, and have also failed to consider the reliance interests of the many

people and organizations that rely on the DHS Oversight Offices, including Plaintiffs. See DHS

v. Regents of the Univ. of Cal., 591 U.S. 1, 16 (2020).

II.    Plaintiffs are suffering and will suffer irreparable harm absent a TRO.

       Plaintiffs are suffering, and will continue to suffer, irreparable injury from Defendants’

dissolution of the DHS Oversight Offices. See PI Mem. at 35. Since the DHS Oversight Offices

effectively ceased all operations on March 21—including all statutorily mandated functions—

Plaintiffs’ core activities have been “perceptibly impaired,” and it has become “more difficult” for

them to carry out their missions. League of Women Voters of the U.S. v. Newby, 838 F.3d 1, 8

(D.C. Cir. 2016) (internal quotation marks omitted). Plaintiffs have made these showings both in

their previous filings, PI Mem. at 35–37; Reply Mem. at 21–22, and above, supra section I-A.


                                                11
     Case 1:25-cv-01270-ACR           Document 34-1        Filed 05/23/25     Page 16 of 18




       The harm to Plaintiffs is already occurring because no statutorily mandated work is being

performed by OIDO or CRCL. Both of those offices have one or fewer employees, who were

either just appointed to those roles, are performing additional functions within DHS

simultaneously, or both. Hemenway Decl. ¶¶1, 13. Plaintiff RFK’s mission of protecting detained

individuals’ human rights is more difficult in the absence of OIDO and CRCL because they must

now spend time traveling to detention facilities and engaging in advocacy with ICE on behalf of

detained people. Enriquez Decl. ¶ 15. SBCC’s mission of promoting human rights and improving

living conditions on the southern border is more difficult because it must now expend additional

efforts seeking information and assistance from CBP directly regarding border conditions,

including urgent and rapidly evolving issues, in the absence of CRCL. Serrano Decl. ¶¶ 13–14.

And UJC’s mission of serving the legal needs of domestic violence survivors is more difficult

because UJC’s lawyers have resorted to CIS customer service mechanisms that are less effective

than CISOM in their efforts to get answers and resolutions for their clients. Ziegeweid Decl. ¶¶

8–10. Although CISOM now has one employee handling a backlog of over 5000 complaints, he

has expressed concern about how soon he will be able to line up any additional staff to help him

to perform the tasks that he believes require around ten employees to perform adequately. Sartini

Decl., ECF No. 30-1, ¶ 5; Hemenway Decl. ¶ 3.

       The employees of all three offices will be separated from their employment today, which

will make permanent the work stoppage giving rise to Plaintiffs’ irreparable harm. In other words,

these three statutorily mandated offices (aside from their newly appointed titular heads) will cease

to exist within hours of this filing. However earnest Mr. Sartini’s aspirations may be, it is

implausible to suggest that those offices will promptly spring from nonexistent to functional,

despite having essentially no employees to carry out those functions and DHS’s repeated




                                                12
       Case 1:25-cv-01270-ACR         Document 34-1        Filed 05/23/25      Page 17 of 18




representations that the offices will be abolished, at least in part, because they have “obstructed

immigration enforcement” and “undermin[ed] DHS’s mission.” 2 A temporary restraining order

requiring these offices to resume their functions—or, in the alternative, at least to prevent the

official separation of all of their employees—is necessary to redress Plaintiffs’ irreparable harm.

III.    The balance of equities and public interest favor issuing a TRO.

        The balance of the equities and public interest converge and strongly support granting

Plaintiffs’ requested emergency relief.      “[T]here is a substantial public interest in having

governmental agencies abide by the federal laws that govern their existence and operations.” New

York, No. 25-cv-10601 (D. Mass. May 22, 2025) (quoting Newby, 838 F.3d at 12). That is

especially so here, where the number of individuals detained by DHS has increased precipitously

and DHS has revoked legal status and ignored due process rights of various individuals, raising

significant constitutional issues and increasing the importance of the work that the DHS Oversight

Offices perform. See PI Mem. at 38–40 & nn.13–14.

        As to the government’s interest, “[i]t is well established that the Government ‘cannot suffer

harm from an injunction that merely ends an unlawful practice.’” C.G.B. v. Wolf, 464 F. Supp. 3d

174, 218 (D.D.C. 2020) (quoting Open Cmtys. All. v. Carson, 286 F. Supp. 3d 148, 179 (D.D.C.

2017)); see Rhode Island, 2025 WL 1303868, at *17 (there is “no public interest in the perpetuation

of unlawful agency action” (quoting Newby, 838 F.3d at 12)). Congress established these offices

precisely because of the serious risk of civil and constitutional violations by DHS personnel. The

President’s authority is circumscribed by the Constitution and federal statutes, and the President’s



        2
          See Ximena Bustillo, Homeland Security Makes Cuts to Civil Rights and Oversight
Offices, NPR (Mar. 21, 2025), https://perma.cc/B9HN-RWRC (quoting DHS spokesperson stating
that the offices were abolished because they “obstructed immigration enforcement” and
“undermin[ed] DHS’s mission”).


                                                 13
     Case 1:25-cv-01270-ACR           Document 34-1         Filed 05/23/25      Page 18 of 18




policy preferences cannot override these basic tenets of our constitutional form of government.

Here, the public interest lies in preventing the unlawful elimination of statutory oversight until the

Court has had a full opportunity to adjudicate the legal questions raised. Accordingly, the balance

of the equities and the public interest strongly favor issuing a TRO.

                                          CONCLUSION

       For the foregoing reasons, this Court should grant Plaintiffs’ motion and order that

Defendants reverse the March 21 stop-work order and rescind the March 21 RIF notices, which

would return the parties to the last uncontested status which preceded the pending controversy. At

a minimum and in the alternative, Plaintiffs respectfully request that the Court order that the RIFs

set to take effect on May 23 be placed on hold until Defendants have hired sufficient staff to

perform the statutory functions of CRCL, CISOM, and OIDO.



Dated: May 23, 2025                                   Respectfully submitted,

                                                 /s/ Karla Gilbride
 Michael C. Martinez (DC Bar No. 1686872)        Karla Gilbride (DC Bar No. 1005586)
 Christine L. Coogle (DC Bar No. 1738913)        Adina H. Rosenbaum (DC Bar No. 490928)
 Brian D. Netter (DC Bar No. 979362)             Public Citizen Litigation Group
 Skye L. Perryman (DC Bar No. 984573)            1600 20th Street NW
 Democracy Forward Foundation                    Washington, DC 20009
 P.O. Box 34553                                  (202) 588-1000
 Washington, DC 20043                            kgilbride@citizen.org
 (202) 448-9090
                                  Counsel for All Plaintiffs

 Anthony Enriquez (DDC Bar No. NY0626)         Sarah E. Decker (DDC Bar No. NY0566)
 Sarah T. Gillman (DDC Bar No. NY0316)         Robert F. Kennedy Human Rights
 Robert F. Kennedy Human Rights                1300 19th Street NW, Suite 750
 88 Pine Street, Suite 801                     Washington, DC 20036
 New York, NY 10005                            (202) 559-4432
 (917) 284- 6355
                                Counsel for Plaintiff RFK




                                                 14
